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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                  Case No. 4:23-cr-00143-DCN
                       Plaintiff,
                                                 ORDER ADOPTING REPORT AND
  v.                                             RECOMMENDATION

  ROBERT MICHAEL DAVIS,

                       Defendant.


       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. Dkt. 28. On September 26, 2023, Defendant, Robert Michael Davis

appeared before the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s plea of guilty to the charges contained in Count One of the

Indictment (Dkt. 1), and that it was entered voluntarily and with full knowledge of the

consequences. No objections to the Report and Recommendation have been filed.

       The Court now has reviewed the record, and find that the requirements of Rule 11

have been met.     See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of Rule

11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the result of

force or threats or promises apart from the plea agreement; and that a factual basis for the



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plea exists. See id. Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation (Dkt. 28) shall

be, and the same is hereby, ADOPTED as the decision of the District Court and

incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Count One of the Indictment (Dkt. 1), shall be, and the same is hereby,

ACCEPTED by the Court as a knowing and voluntary plea supported by an independent

basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that the Defendant, Robert Michael Davis is found to

be GUILTY as to the applicable crimes charged in the Indictment. Dkt. 1.

                                                  DATED: October 26, 2023


                                                  _________________________
                                                  David C. Nye
                                                  Chief U.S. District Court Judge




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